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                               UNITED STATES DISTRICT COURT
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                            NORTHERN DISTRICT OF CALIFORNIA
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                                   SAN FRANCISCO DIVISION
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     IN RE: CATHODE RAY TUBE (CRT)               Master File No. CV-07-5944-SC
14   ANTITRUST LITIGATION
                                                 MDL No. 1917
15
                                                 [PROPOSED] ORDER RE: INDIRECT-
16                                               PURCHASER PLAINTIFFS’
                                                 ADMINISTRATIVE MOTION TO SEAL
17                                               DOCUMENTS PURSUANT TO CIVIL
                                                 LOCAL RULES 7-11 AND 79-5(d)_______
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20
            GOOD CAUSE APPEARING THEREFOR, Indirect-Purchaser Plaintiffs’ Administrative
21
     Motion To Seal Documents Pursuant to Civil Local Rules 7-11 and 79-5(d) is hereby
22
     GRANTED.
23

24   IT IS SO RECOMMENDED.
25

26   Dated: _________________, 2013
                                               Hon. Charles A. Legge
27                                             SPECIAL MASTER

28

      [PROPOSED] ORDER RE: INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
                  DOCUMENTS PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d) —
                            MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
      Case 4:07-cv-05944-JST Document 1571-2 Filed 02/15/13 Page 2 of 2



 1   IT IS SO ORDERED UPON THE RECOMMENDATION OF THE SPECIAL MASTER.

 2
     Dated: _________________, 2013
 3                                         Hon. Samuel A. Conti
                                           UNITED STATES DISTRICT JUDGE
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     3242897v1
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      [PROPOSED] ORDER RE: INDIRECT-PURCHASER PLAINTIFFS’ ADMINISTRATIVE MOTION TO SEAL
                  DOCUMENTS PURSUANT TO CIVIL LOCAL RULES 7-11 AND 79-5(d) —
                            MASTER FILE NO. CV-07-5944-SC, MDL NO. 1917
